
Halt, Judge,
delivered the opinion of the Court:
The act of 1786, ch. 18, declares, “that all offences committed or done against the purview of the act of 1784, ch. 14, shall thereafter be prosecuted by indictment in any Court having’ cognizance thereof. Particular penalties were, by the act of 1784, inflicted upon persons who committed the offences mentioned in that act. It is not necessary to enquire whether any of these offences were indictable before the act of 1786 : if doubts existed, they were removed by that act. The acts of 1784 and 1786, so far as they relate to the present subject, must be considered as one act. The construction proper to be given to them, will resemble that which is given to a statute, by which particular offences are created, and particular remedies are pointed out; but in which, as to such offences, there is a substantive prohibitory clause. There is no doubt that an indictment would. lie on such prohibitory cause. The present case is much stronger ; for assimilating the act of 1786 to such prohibitory clause, it gives the indictment in express terms. The Legislature probably considered that the penalties given by the act of 1784, were not sufficiently severe to deter *136persons fro-m committing the offences therein mentioned, and intended to give to the Court a power to punish such offences at discretion, when conviotions should take place upon indictments. The latter part of the section of the act of 1786, declares that “ all forfeitures shall be recovered by action of debt, &amp;c. one-half to the use of the prosecutor, the other half to the use of the. State, unless the same have been otherwise provided for by the said act.” These latter words, on which so much reliance has been placed by the Defendant’s counsel, refer to forfeitures altogether, and not to offences committed against the purview of the act of 1784, as spoken of in the first part of the section. Let us, however, consider them as having such reference then the meaning will be, that where an offence, created by the act of 1784, is provided for, or in other words, where a penalty is inflicted upon any person who may be guilty of it, an indictment will not lie but had it not been provided for by such penalty, an indictment would lie. But it ought to be remembered, that if particular penalties had not been given by the act of 1784, an indictment would have lain on such act without the aid of the act of 1786; and this latter act can only operate in this particular, to give the indictment where, probably, it would not lie before; that is, to subject to indictment offences to which particular penalties were annexed by the act of 1784. But if the concluding words of such section be considered as referable to forfeitures only, a plain meaning can be given to them j for it is obvious that some of the forfeitures men-' tioned in the act of 1784, had been particularly appropriated, and some had not. On the latter, those concluding words of the section were intended to operate — - Judgment for the State.
